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                                    727




                         Exhibit V
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                                                            728                                                BA20240115173

                         STATE OF CALIFORNIA                                                           For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                       -FILED-
                         LIMITED LIABILITY COMPANY
                         California Secretary of State                                         File No.: BA20240115173
                         1500 11th Street                                                      Date Filed: 1/18/2024
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Limited Liability Company Name                              ANJAY VENTURE PARTNERS LLC
  Entity No.                                                  201703110272
  Formed In                                                   CALIFORNIA
Street Address of Principal Office of LLC
  Principal Address                                           22836 POPLAR GROVE SQUARE
                                                              CUPERTINO, CA 95014-2653
Mailing Address of LLC
  Mailing Address                                             22836 POPLAR GROVE SQUARE
                                                              CUPERTINO, CA 95014-2653
  Attention
Street Address of California Office of LLC
  Street Address of California Office                         22836 POPLAR GROVE SQUARE
                                                              CUPERTINO, CA 95014-2653
Manager(s) or Member(s)

                           Manager or Member Name                                Manager or Member Address

   Deepak Kumar Sharma                                        22836 Poplar Grove Square
                                                              Cupertino, CA 95014


Agent for Service of Process
  Agent Name                                                  DEEPAK KUMAR SHARMA
  Agent Address                                               22836 POPLAR GROVE SQUARE
                                                              CUPERTINO, CA 95014
Type of Business
  Type of Business                                            MANAGEMENT CONSULTING
Email Notifications
  Opt-in Email Notifications                                  Yes, I opt-in to receive entity notifications via email.
Chief Executive Officer (CEO)

                                   CEO Name                                             CEO Address

   Deepak Kumar Sharma                                        22836 Poplar Grove Square
                                                              Cupertino, CA 95014


Labor Judgment
  No Manager or Member, as further defined by California Corporations Code section 17702.09(a)(8), has an
  outstanding final judgment issued by the Division of Labor Standards Enforcement or a court of law, for which no
  appeal is pending, for the violation of any wage order or provision of the Labor Code.




                                                                                                                             Page 1 of 2
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                                                                                                                                           B2425-6807 01/18/2024 8:41 PM Received by California Secretary of State
                                                         729
Electronic Signature

       By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized by
       California law to sign.


  Deepak Kumar Sharma                                                  01/18/2024
  Signature                                                            Date




                                                                                                                                   Page 2 of 2
